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                            UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF CONNECTICUT
                                  BRIDGEPORT DIVISION


IN RE:                                          :                           CHAPTER 11
                                                :
WALL STREET THEATER COMPANY, INC.               :                           Case No. 18-50132 (Lead)
WALL STREET MASTER LANDLORD, LLC                :                           Case No. 18-50133
WALL STREET MANAGING MEMBER, LLC                :                           Case No. 18-50134
                                                :
      Debtors                                   :                           (Jointly Administered)
                                                :
________________________________________________:
                                                :
WALL STREET THEATER COMPANY, INC., et al        :
                                                :
                  Movant                        :
                                                :
v.                                              :
                                                :
PATRIOT BANK, N.A.                              :
                                                :
                  Respondent                    :
       THIRD INTERIM ORDER (1) AUTHORIZING CONTINUED USE OF CASH
    COLLATERAL, (2) GRANTING ADEQUATE PROTECTION, AND (3) SCHEDULING
                HEARING ON FINAL USE OF CASH COLALTERAL

         Upon the Motion for Preliminary and Final Orders Authorizing Debtors to Use Cash

Collateral and Granting Adequate Protection (ECF No. 4, the “Motion”) filed by Wall Street

Theater Company, Inc. (“WSTC”), Wall Street Master Landlord, LLC (“WSML”), and Wall

Street Managing Member, LLC (“WSMM”), as debtors and debtors-in-possession (collectively,

the “Debtors”)1 seeking, among other things, entry of this Preliminary Order authorizing Debtors

to use cash collateral in accordance with the budget annexed thereto as Exhibit A (the “Budget”)

and granting adequate protection; and




1
  Non-debtor affiliates of Debtors are Wall Street Master Tenant, LLC (“WSMT”) and Wall Street Manger, LLC
(“WSM”).

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            Debtors having requested in the Motion that (a) pending the final hearing on the Motion,

a hearing be scheduled on an expedited basis (the “Preliminary Hearing”) to consider entry of this

preliminary order, (b) that a hearing (the “Continued Hearing”) be scheduled on the Motion to

consider entry of a final order authorizing and approving, on a final basis, Debtors’ use of cash

collateral; and

           The Court having authority under 11 U.S.C. § 363 and Fed. R. Bankr. P. 4001 to

  authorize the Debtors to use cash collateral on an interim basis in accordance with the attached

budget;


         IT IS HEREBY FOUND:

         A.       On February 4, 2018, Debtors filed voluntary petitions for relief under Chapter 11

of the United States Bankruptcy Code (the “Code”). Pursuant to §§ 1107(a) and 1108 of the

Code, Debtors continues to operate their businesses and manage their properties, affairs, and

assets as debtors-in-possession.

         B.       The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

         C.       No trustee or committee has been appointed in these cases.

         D.       The Preliminary Hearing on use of cash collateral was held on February 8, 2018.

Following said Preliminary Hearing, and upon agreement of the parties appearing, the Court

entered an order granting preliminary use of cash collateral (the “Preliminary Order”), but

reserved for further consideration whether the Debtors should be permitted to pay a certain

“developer’s fee”.




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         E.     On February 14, 2018, the Court held a further cash collateral hearing concerning

payment of the “developer’s fee”. On February 15, 2018, the Court approved Debtors’ use of

cash collateral to pay the “developer’s fee.”

         F.     A hearing to consider continued use of cash collateral (“Second Cash Collateral

Order”) was scheduled for February 27, 2018 at 12:00 noon. Said Second Cash Collateral Order

was approved on March 2, 2018. ECF No. 73.

         G.     On March 12, 2018 and March 21, 2018 the Court approved requests for

supplemental usage of cash collateral. ECF Nos. 107 and 131.

         H.     On April 30, 2018 a copy of this proposed order and Budget (“Third Cash

Collateral Order”) was filed on the docket and served on (a) secured creditors with an interest in

cash collateral, including Patriot Bank, N.A. (“Patriot”), (b) the office of the U.S. Trustee, (c)

Morganti Group, Inc., (d) the largest 20 unsecured creditors, and all parties with an appearance in

the case (the “Notice Parties”).

         I.     Unless Debtors can use collateral in the amounts and for the purposes specified

herein, each estate will suffer immediate and irreparable harm. Without the use of cash

collateral, Debtors will be forced to cease operations thereby resulting in loss to its going concern

value to the detriment of Debtors, their creditors, and the bankruptcy estate. The Budget reflects

the Debtors’ business judgment with respect to the timing and amounts of payments and is

otherwise reasonable and proper.

        NOW THEREFORE, IT IS ORDERED, ADJUDGED AND DECREED THAT:

          1.     Pursuant to 11 U.S.C. § 363(c)(2)(B), Debtors are hereby authorized from the date

         of this Order until June 1, 2018 (the “Cash Collateral Period”) to use cash collateral to pay




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actual, necessary ordinary course operating expenses as set forth in, and in accordance with,

Exhibit A (the “Budget”) appended hereto to avoid immediate and irreparable harm to the estate.

         2.     A hearing to consider the further use of cash collateral shall be held on July

24, 2018 at 10:00 A.M. at the United States Bankruptcy Court, 915 Lafayette Boulevard,

Bridgeport, Connecticut.

                      a.      On or before July 10, 2018 the Debtors shall docket and serve on the

   Notice Parties a proposed order concerning further use of cash collateral and proposed budget.

                b.     On or before July 17, 2018, any party-in-interest may file an objection

concerning the further use of cash collateral.

         3.     Nothing contained herein shall in any way affect or impair the status of the

validity, perfection, amount and extent of Patriot’s or any other alleged secured creditor’s

respective security interests in any of its respective collateral, or Debtors’ or any other party’s

right to object to the validity, perfection, amount and extent of such security interests. Nothing

contained herein shall in any way affect or impair any right of setoff or recoupment that The

Morganti Group, Inc. may hold against any Debtors.

         4.     Any party in interest that wishes to challenge the nature, extent, priority, or scope

of Patriot’s liens and/or secured status shall file an appropriate motion or adversary proceeding

(“Challenge Action”) on or before June 1, 2018 (the “Challenge Period”). Any Challenge

Action shall state with particularity the aspects of Patriot’s liens and/or secured status that are

being challenged. Failure of any party-in-interest to file a Challenge Action during the

Challenge Period shall constitute a waiver of any rights or ability to challenge the nature, extent,

priority, or scope of Patriot’s liens and/or Patriot’s secured status. This provision shall be

binding upon all successors to the Debtors, their Estates, or any Committee, including trustees




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appointed under any chapter of the Bankruptcy Code. For good cause shown, the Court will

consider extending the Challenge Period if a party-in-interest, files a motion seeking an extension

prior to 4:00 P.M. on June 1, 2018 (“Challenge Period Extension Motion”). Any Challenge

Period Extension Motion shall set forth with particularity the specific reasons why an extension

is necessary.

           5.      In exchange for the continued use of cash collateral by Debtors, and as adequate

protection for Patriot’s interests therein, and in addition to the provisions of 11 U.S.C. § 552(b),

Patriot is hereby granted, in accordance with §§ 361(2), 363(c), and 363(e), senior security

interests (the “Replacement Liens”) in, and liens upon, to attach to the same validity, extent, and

priority that the Patriot possessed as to said liens on the Petition Date, but only to the extent the

amount of their respective secured position erodes in value, all personal property and real estate

now owned, or hereafter created or acquired or generated by Debtors, whether existing prior to

the Petition Date or coming into being or in the possession of Debtors thereafter including,

without limitation, all of Debtors’ accounts, inventory, general intangibles, trademarks, licenses,

contract rights, insurance proceeds or refunds, tax credits, tax refunds, chattel paper, documents,

instruments and securities, machinery, equipment, and all proceeds, products, rents and profits of

all of the foregoing, whether acquired through the use of cash collateral, or from the extension of

post-petition financing (“DIP Assets”). Notwithstanding anything else in this Order to the

contrary, nothing herein shall grant Patriot a Replacement Lien in claims and/or causes of action

arising under Chapter 5 of Title 11, 11 U.S.C. § 501 et seq.

    6.      As additional adequate protection, Debtors shall pay to Patriot monthly interest payments

                      of $46,047.23 on the 1st of each month in accordance with the attached Budget.2




2
    Estimated amount at the present may vary from month to month. Debtors shall pay actual amounts then due.

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Furthermore, the Debtors shall maintain any and all insurance as required by the loan documents.

The failure to timely pay said monthly payment to Patriot or maintain insurance shall be grounds

for immediate termination of the continued use of cash collateral.

         7.     It is the purpose and intent of this Order to allow Debtors to use their accounts and

accounts receivable and other collateral which constitute cash collateral of Patriot’s on a revolving

basis and to provide the Patriot with a lien upon post-petition assets so that Patriots’ interests

therein will not be diminished during the pendency of these Chapter 11 proceedings. The

respective secured positions of Patriot that existed on the Petition Date may not improve by virtue

of the granting of the replacement and/or substitute liens as set forth herein.

         8.     All liens and security interests, to the extent granted pursuant to this Order, shall be

and hereby are (a) in addition to all security interests, liens and rights of setoff, rights of

recoupment existing in favor of Patriot on the Petition Date; (b) deemed effective, valid and

perfected as of the Petition Date, without the necessity of the filing or lodging by any person of

any documents or other instruments otherwise required to be filed or lodged under applicable non-

bankruptcy law for the perfection of security interests, with such security interests and liens, to the

extent granted, validity and perfection being binding upon any successor entity or entities or

subsequently appointed Trustee in any proceeding under any chapter of the Code and upon any

and all other creditors of Debtors who have extended or who may hereafter extend credit to

Debtors, or assert a claim of any nature or in any manner whatsoever in these cases or any

superseding bankruptcy case of the Debtors, whether or not notice of the filing of this case has been

filed in any state or county in which the Debtors’ assets may ever be located; and (c) intended to be

adequate protection for the Debtors’ use of cash collateral. Patriot shall not be required to file any

UCC-1 Financing Statement in any jurisdiction or take any other action (including possession of the




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Collateral and/or DIP Assets, or any portion thereof) in order to further establish the security

interests provided for hereunder. This Order shall be sufficient and conclusive evidence of the

granting of Patriot’s security interests and liens upon the DIP Assets.

         9.     Patriot may, in their discretion, file a certified copy of this Order in any filing or

recording office in which the Debtor has any property or office. If Patriot, in its sole discretion,

chooses to file such financing statements or other documents or otherwise confirm perfection of

such security interests and liens, all such financing statements or similar documents shall be deemed

to have been filed or recorded as of the Petition Date. Debtors shall execute and deliver to Patriot

any agreement, financing statement, instruments or other documents as Patriot may reasonably

request from time to time to effectuate, evidence, confirm, validate or perfect the security interests

and liens provided for herein. Nothing in this Order shall in any way restrict the scope of the

Patriot’s pre-petition liens, security interests, rights of setoff or claims.

         10.    Notwithstanding any provision of this Order, nothing herein shall be deemed to be

an adjudication or a declaration by the Court of rights with respect to the existence, validity,

enforceability, subordination or priority of, or any causes of action relating to the liens or security

interests granted by Debtors or possessed by Patriot prior to the Petition Date.

         11.    Nothing contained in this Order shall be deemed to be a finding by this Court or an

admission by Patriot with respect to adequate protection (as such term is defined by 11 U.S.C. §

361) of the interests of Patriot.

         12.    Except to the extent expressly provided herein, nothing contained in this Order shall

prejudice, impair or otherwise adversely affect, the rights of Patriot under the Bankruptcy Code or

applicable non-bankruptcy law, including, without limitation, the right, at any time, in their sole

discretion, to demand adequate protection, to request relief from the automatic stay, to move to



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convert this case to a case under Chapter 7 of the Bankruptcy Code, to object to any plan of

reorganization or disclosure statement, to request the appointment of a trustee or examiner, or to

seek the termination of, or object to the extension of, the period during which the Debtor enjoys the

exclusive right to propose and/or seek to obtain confirmation of a plan of reorganization.

         13.    The liens of Patriot and any Replacement Liens, and any priority to which the

Patriot may be entitled or become entitled under § 507(b) of the Bankruptcy Code, shall be

forever subject to and subordinate in right and payment to (i) amounts payable pursuant to 28

U.S.C. § 1930(a)(6) and any fees payable to the Clerk of the Court; (ii) liens for taxes owed to

governmental entities, including sales and withholding taxes to the extent such liens have priority

over the liens and Replacement Liens of the Secured Creditors under applicable non-bankruptcy

law; and (iii) the allowed administrative claims of attorneys and other professionals retained by

the Debtors in these Chapter 11 cases pursuant to § 327 accrued during any cash collateral

periods in the amounts of: $125,000 for Debtors’ proposed counsel Green & Sklarz LLC

(inclusive of its prepetition retainer) and $30,000 for Debtors’ proposed financial advisor RJ

Reuter, LLC (inclusive of its prepetition retainer) and $15,000 for Debtors’ proposed special

counsel, Hinckley Allen & Snyder LLP (inclusive of its remaining prepetition retainer)

(collectively items (i) through (iii) are referred to as the “Carve Outs”).

         14.    All notices required to or permitted to be given to Debtors under this Order shall

be addressed as follows:

DEBTORS:
                       WALL STREET THEATER COMPANY, INC.
                       WALL STREET MASTER LANDLORD, LLC
                       WALL STREET MANAGING MEMBER, LLC
                       Attn: Suzanne Cahill
                       P.O. Box 2387
                       Milford, CT 06460

With a copy to:        Green & Sklarz, LLC


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                       Attn: Jeffrey M. Sklarz, Esq.
                       700 State Street, Suite 100
                       New Haven, CT 06511

LENDER:                Patriot Bank, N.A.
                       900 Bedford Street
                       Stamford, CT 06901

With a copy to:        Murtha Cullina LLP
                       Attn: Robert E. Kaelin, Esq.
                       185 Asylum Street
                       Hartford, CT 06103-3469

         15.    Debtors shall, on or before May 7, 2018, transmit copies of a notice of the entry

of this Order to the Notice Parties, and to any party which has filed prior to such date a request

for notices with this Court. Patriot’s consent to the use of cash collateral pursuant to this Order

shall in no way be interpreted as its consent or agreement to any future budget as may be

proposed by the Debtors, and the Bank reserves any and all objections to confirmation of any

proposed plan of reorganization and nothing herein shall otherwise be deemed an acceptance by

the Patriot as to the amounts it shall otherwise be entitled to under a plan or in this bankruptcy

proceeding.

         16.    Nothing herein shall be deemed to prevent Patriot from seeking to terminate the

use of cash collateral for any breach by the Debtors of the terms hereof or to obtain relief from

the automatic stay or to assert any other rights, claims, remedies or defenses available to Patriot.



                Dated at Bridgeport, Connecticut this th day of May, 2018.




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                               EXHIBIT A

                                   Budget




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                                                                     WALL STREET THEATER COMPANY, INC. ET AL. (Consolidated Budget)
                                                                                         13 WK CASH BUDGET
                                                                                (Period W/E May 11 2018 to Aug 03 2018)

Line                      Updated 4-27-18     BUDGET          BUDGET          BUDGET           BUDGET            BUDGET         BUDGET        BUDGET        BUDGET         BUDGET            BUDGET        BUDGET        BUDGET         BUDGET
  1                               Week #           1               2               3                   4              5              6             7            8                  9             10            11            12                13
  2                          Week Ended        5/11/2018       5/18/2018       5/25/2018           6/1/2018       6/8/2018       6/15/2018     6/22/2018    6/29/2018          7/6/2018      7/13/2018     7/20/2018     7/27/2018          8/3/2018
  3
  4    Operating Cash Receipts
  5    Ticket Revenue                        $      17,500 $        17,500 $        17,500     $      16,000 $        16,000 $       16,000 $      16,000 $      16,000    $      18,750 $        18,750 $      18,750 $      18,750    $      15,000
  6    Food and Beverage                     $       5,889           5,889           5,889     $       6,764           6,764          6,764         6,764         6,764    $       5,639           5,639         5,639         5,639    $       5,139
  7    Corporate Events/Rentals              $       3,250           3,250           3,250     $       3,750           3,750          3,750         3,750         3,750    $       4,000           4,000         4,000         4,000    $       1,500
  8    Ticket Surcharge                      $       5,063 $         5,063 $         5,063     $       5,625 $         5,625 $        5,625 $       5,625 $       5,625    $       5,344 $         5,344 $       5,344 $       5,344    $       4,500
  9       Total Operating Cash Receipts             31,701          31,701          31,701            32,139          32,139         32,139        32,139        32,139           33,732          33,732        33,732        33,732           26,139
                                                                                                                                                                                                                                                                              Case 18-50132




 10
 11    Operating Cash Disbursements
 12
 13       Subtotal - Cost of Goods Sold             13,367          13,367          13,367            14,261          14,261         14,261        14,261        14,261           13,826          13,826        13,826        13,826           10,243
 14
 15    OPERATING EXPENSES
 16        SUB-TOTAL SALARIES                        5,435           5,435           5,435             5,435           5,435          5,435         5,435         5,435            5,435           5,435         5,435         5,435            5,435
 17        OTHER COSTS
                                                                                                                                                                                                                                                                              Doc 192




 18     Real Estate Taxes                                                              -                                                                            -                                                         18,250
 19     Insurance(s)                                                                   -                                                                            -                                                          2,829
 20     Admin costs                                                                    471                                                                          471                                                          471
 21    Outside Services                                                                471                                                                          471                                                          471
 22     Utilities                                                                    4,714                                                                        4,714                                                        6,286
 23     Developer Fee (a)                                                           10,010                                                                       10,010                                                       10,010
 24     General Repair                                                               1,257                                                                        1,257                                                        1,257
 25     Other Misc. fixed costs                                                      1,336                                                                        1,336                                                        1,336
 26        OTHER COSTS                                                              18,260                                                                       18,260                                                       40,910
 27        FUNDRAISING COSTS
 28             Events                                                               1,571                                                                        1,571                                                        3,143
 29    Other Mailings, Development                                                     786                                                                          786                                                        7,071
 30        MARKETING                                                                   -
 31             Graphic Design                                                       1,440                                                                        1,440                                                        1,440
 32             Advertising & Publicity                                              3,667                                                                        3,667                                                        2,095
 33        Subtotal - Fundraising &                                                  5,107                                                                        5,107               -              -             -           3,536               -
 34        OTHER CONTINGENCY                                                        10,000                                                                       10,000                                                       10,000
 35    Total Operating Cash Disb.                    5,435           5,435          41,159             5,435           5,435          5,435         5,435        41,159            5,435           5,435         5,435        70,094            5,435
 36
 37    Net Operating Cash Flows                      7,932           7,932         (27,792)            8,827           8,827          8,827         8,827       (26,897)           8,391           8,391         8,391       (56,269)           4,809
 38      INTEREST & DEBT PAYMENTS
 39          Interest/Adequate                                      46,047                                            46,047                                                      46,047                                                       46,047
 40
                                                                                                                                                                                                                                                           Document Page 11 of 11




 41    Non-Operating Items
 42
 43    Receipts:
 44    Tax Credits                                      -        1,805,162
 45     Total Non-Operating Receipts                    -        1,805,162              -                 -              -              -             -             -                 -              -             -             -                 -
 46
 47    Disbursements:
 48
 49    BOARD EXPENSES
 48        Board Admin and Comp                                                                        2,823
 49      REORGANIZATION EXPENSES
                                                                                                                                                                                                                                                          Filed 05/08/18 Entered 05/08/18 16:56:34




 50         U.S. Trustee Fees                                        1,950                                                                                                                                                     1,950
 51         Debtor's Bankruptcy                                                                       25,000                                                                      25,000                                                       10,000
 52         Debtor's Special Counsel                                                                  10,000                                                                       5,000
 53         Debtor's Financial advisor                                                                 5,000                                                                       5,000                                                        5,000
 54         Real Estate Appraiser                                                                                                                                                    -
 55      Subtotal - Reorg Expenses                      -            1,950              -             40,000             -              -             -             -             35,000             -             -           1,950           15,000
 56
 57    Total Non-Operating Disbursement                 -           47,997              -             42,823          46,047            -             -             -             81,047             -             -           1,950           61,047
 58
 59    Net Cash Flow                                 7,932       1,765,097         (27,792)           (33,996)       (37,220)         8,827         8,827       (26,897)          (72,656)         8,391         8,391       (58,219)          (56,239)
 60
                                                                                                                                                                                                                                                                              Desc Main




 61    Beginning Cash Balance*                      21,682          29,614       1,794,712          1,766,920      1,732,924      1,695,703     1,704,530     1,713,357         1,686,460      1,613,804     1,622,195     1,630,586         1,572,367
 62
 63    Net Ending Cash                       $      29,614    $ 1,794,712     $ 1,766,920      $ 1,732,924       $ 1,695,703    $ 1,704,530   $ 1,713,357   $ 1,686,460    $ 1,613,804       $ 1,622,195   $ 1,630,586   $ 1,572,367    $ 1,516,129

       Cash balance is as of 4-13-18; actual at time of filed cash collateral not reconciled
